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                                      MINUTES


 CASE NUMBER:              CRIMINAL NO. 17-00101-1 LEK
 CASE NAME:                USA vs. (01) Anthony T. Williams
 ATTYS FOR PLA:            Gregg Paris Yates
                           Kenneth M. Sorenson
 ATTYS FOR DEFT:           Anthony T. Williams, Pro se
                           Lars R. Isaacson (Stand-by)

      JUDGE:       Leslie E. Kobayashi           REPORTER:       Debra Read

      DATE:    2/11/2020                   TIME:          08:30 AM - 2:00 PM
                                        th
COURT ACTION: EP: Further Jury Trial - 6 day as to Defendant (01) Anthony T.
Williams held.

Defendant (01) Anthony T. Williams present in custody.

12 Jurors and 2 Alternates present.

Government Witnesses:
8) Simon Klevansky, expert witness (.. C, RD)
9) Micah Bump (D, C, RD)
10) Melvin Ventura (D, C, RD)
11) Henry Malinay (D, C,

Defendant Witnesses:
5) Melvin Ventura (D, C, RD)


Government’s Exhibits Admitted:
301, 725

Defendant’s Exhibits Admitted:
2149, 2049 (Only pages 7, 8, 9 and 10-25), 2043, 2151

Jury excused for the day

Court addresses possible exhibits for current witness, Henry Malinay.

Discussion held.

Defense addresses defense subpoena list.
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Court reiterates: Defense has until the close of trial day on Wednesday 2/12/2020 to
advise the Court of the relevance to call identified witnesses subpoenaed and why
subpoena’s should not be QUASHED.

Defendant (01) Anthony T. Williams remanded to the Custody of the U.S. Marshal
Service.

Further Jury Trial-Day 7, SET for February 12, 2020 at 8:30 a.m. before Honorable
Leslie E. Kobayashi.


Submitted by: Agalelei Elkington, Courtroom Manager
